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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                                 Eastern Division

David J Rao
                                                   Plaintiff,
v.                                                              Case No.: 1:16−cv−08815
                                                                Honorable Milton I. Shadur
Board of Trustees University of Illinois, et al.
                                                   Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, January 5, 2017:


        MINUTE entry before the Honorable M. David Weisman: All matters relating to
the referral of this matter having been resolved, this case is returned to the District Judge.
Status hearing set for 2/9/17 before Judge Weisman is stricken, no appearance is required.
Referral terminated. Mailed notice (ao,)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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